                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA
 '
U.S.A. vs. Kevin Robinson                                                        Docket No. 7:15-CR-68-lD

                               Petition for Action on Supervised Release

COMES NOW Cierra M. Wallace, U.S. Probation Officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Kevin Robinson, who, upon an earlier plea of
guilty to Possession of a Firearm and Ammunition by a Felon, in violation of 18 U.S.C. §§ 922(g)(l) and
924(a)(2), was sentenced by the Honorable James C. Dever III, U.S. District Judge, on January 27, 2016,
to the custody of the Bureau of Prisons for a term of 84 months. It was further, ordered that upon release
from imprisonment the defendant be placed on supervised release for a period of 36 months.

Kevin Robinson was released from custody on April 29, 2021, at which time the term of supervised release
commenced.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

Robinson reported he is interested in completing the Moral Reconation Therapy group that would
reduce his chances to recidivate. Moral Reconation Therapy is a cognitive-behavioral treatment
system that leads to enhanced moral reasoning, better decision making, and more appropriate behavior.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release ?e modified as follows:

   1. The defendant shall participate in a cognitive behavioral program as directed by the probation office.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                               I declare under penalty of perjury that the foregoing
                                                     is true and correct.


Isl David W. Leake                                   Isl Cierra M. Wallace
David W. Leake                                       Cierra M. Wallace
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     414 Chestnut Street, Suite 102
                                                     Wilmington, NC 28401-4290
                                                     Phone: 910-679-2034
                                                     Executed On: November 15, 2021




                                                      r




             Case 7:15-cr-00068-D Document 39 Filed 11/16/21 Page 1 of 2
Kevin Robinson
'Docket No. 7:15-CR-68-1D
Petition For Action
Page2


                                      ORDER OF THE COURT

Considered and ordered this      1 Co    day of   \\J P'1 U.l b.aA..   , 2021, and ordered filed and
made a part of the records in the above case.


Jmru( C. Dever III    .
U.S. District Judge




             Case 7:15-cr-00068-D Document 39 Filed 11/16/21 Page 2 of 2
